Case 2:19-bk-12014-WB          Doc 13 Filed 03/11/19 Entered 03/11/19 18:40:07        Desc
                                Main Document    Page 1 of 8
      Matthew D. Resnik (Bar No. 182562)
      Pardis Akhavan (Bar No. 320342)
  1   RESNIK HAYES MORADI LLP
      17609 Ventura Blvd., Suite 314
  2   Encino, CA 91316
      Telephone: (818) 285-0100
  3   Facsimile: (818) 855-7013
      matt@RHMFirm.com
  4   pardis@RHMFirm.com

  5 Attorneys for Debtor
    Muriel Jones
  6
  7
                               UNITED STATES BANKRUPTCY COURT
  8
                                CENTRAL DISTRICT OF CALIFORNIA
  9
                                       LOS ANGELES DIVISION
10
11 In re                                            )   Case No. 2:19-bk-12014-WB
                                                    )
12                   MURIEL JONES,                  )   Chapter 13
                                                    )
13                                                  )
                                            Debtor. )   DEBTOR’S NOTICE OF MOTION
14                                                  )   AND MOTION TO EXTEND TIME TO
                                                    )   FILE CASE OPENING DOCUMENTS;
15                                                  )   MEMORANDUM OF POINTS AND
                                                    )   AUTHORITIES; DECLARATION OF
16                                                  )   MATTHEW D. RESNIK IN SUPPORT
                                                    )   THEREOF
17                                                  )
                                                    )   [No hearing required pursuant to Local
18                                                  )   Bankruptcy Rule 1007-1(b)]
                                                    )
19                                                  )
                                                    )
20
                TO THE HONORABLE JULIA W. BRAND, UNITED STATES
21
      BANKRUPTCY JUDGE; THE CHAPTER 13 TRUSTEE; AND OTHER
22
      CREDITORS AND PARTIES IN INTEREST:
23
                Muriel Jones, Debtor and Debtor-in-Possession herein (hereinafter “Debtor”),
24
      hereby requests that she be given fourteen (14) additional days to prepare and file her
25
      Bankruptcy Schedules, Statements and the Chapter 13 Plan and related forms, as set forth
26
      herein.
27
28
        Case 2:19-bk-12014-WB      Doc 13 Filed 03/11/19 Entered 03/11/19 18:40:07           Desc
                                    Main Document    Page 2 of 8
                    Debtor filed her Emergency Chapter 13 Petition on February 26, 2019, in pro per.
          1 The remainder of her Schedules and Statements are due on March 12, 2019. The §341(a)
          2 Meeting of Creditors is presently set for April 4, 2019 and the Chapter 13 Plan
          3 Confirmation Hearing is set for April 24, 2019.
          4       Debtor thereafter retained current counsel; the substitution of attorney form was
          5 filed on March 11, 2019 (Docket No. 10), the same date as the filing of this Motion.
          6        As Debtor has only very recently been able to retain counsel, she requests of the
          7 Court additional time to gather the required information so that she and her counsel can
          8 prepare and draft accurate and complete Schedules, Statements and the Chapter 13 Plan
          9 and related forms.
         10        This Motion is based on this Motion, the supporting Memorandum of Points and
         11 Authorities, and the Declaration of Matthew D. Resnik.
         12       WHEREFORE, the Debtor respectfully requests that the Court enter its order
         13 granting her an additional fourteen (14) days, to March 26, 2019, to file the remainder of
         14 her Bankruptcy Schedules, Statements and the Chapter 13 Plan and related forms, as set
         15 forth herein.
         16
         17 Dated: March 11, 2019                                RESNIK HAYES MORADI LLP

         18
                                                          By:       /s/ Matthew D. Resnik
         19                                                           Matthew D. Resnik
                                                                      Pardis Akhavan
         20                                                           Attorneys for Debtor
                                                                      Muriel Jones
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        Case 2:19-bk-12014-WB      Doc 13 Filed 03/11/19 Entered 03/11/19 18:40:07             Desc
                                    Main Document    Page 3 of 8
                             MEMORANDUM OF POINTS AND AUTHORITIES
          1                                I.    STATEMENT OF FACTS
          2         Muriel Jones (hereinafter “Debtor”) filed an “Emergency Petition” to obtain relief
          3 under Chapter 13 of Title 11 in the Central District of California, Los Angeles Division, on
          4 February 26, 2019, in pro per.
          5         The remainder of her Schedules and Statements are due on March 12, 2019. The
          6 §341(a) Meeting of Creditors is presently set for April 4, 2019 and the Chapter 13 Plan
          7 Confirmation Hearing is set for April 24, 2019.
          8         Debtor thereafter retained current counsel; the substitution of attorney form was
          9 filed on March 11, 2019 (Docket No. 10), the same date as the filing of this Motion.
         10
         11                                      II.    DISCUSSION
         12            A. The Bankruptcy Rules Provide for Further Time Upon Request
         13         F.R.B.P. 1007(c) states as follows:
         14                Except as provided in §1116(3), any extension of time to file schedules,
         15                statements, and other documents required under this rule may be granted
         16                only on motion for cause shown and on notice to the United States trustee,
         17                any committee elected under §705 or appointed under §1102 of the Code,
         18                trustee, examiner, or other party as the court may direct. Notice of an
         19                extension shall be given to the United States trustee and to any committee,
         20                trustee, or other party as the court may direct.
         21
         22         Local Bankruptcy Rule 1007-1(b) provides:
         23                (b) Extension of Time to File Lists, Schedules, Statements, and Other
         24                Documents.
         25                       (1) A motion for an extension of time to file the lists of creditors and
         26                equity security holders, or to file the schedules, statements, and other
         27                documents, must: (A) identify the date the petition was filed, and the date of
         28
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        Case 2:19-bk-12014-WB       Doc 13 Filed 03/11/19 Entered 03/11/19 18:40:07            Desc
                                     Main Document    Page 4 of 8
                           the proposed new deadline; (B) be supported by a declaration under penalty
          1                of perjury establishing a sufficient explanation for the requested extension of
          2                time; and (C) contain a proof of service upon the case trustee (if any) and all
          3                creditors.
          4                (2) The motion may be ruled upon without a hearing pursuant to LBR 9013-
          5                1(p).
          6                (3) If the court grants the motion, the court may dismiss the case without
          7                further notice and hearing if any list, schedule, statement, or plan (in chapter
          8                13 cases) is not filed within the additional time allowed by the court.
          9
         10             B. Cause Has Been Shown
         11         The Debtor seeks a one-time extension of the deadline to file her Schedules,
         12 Statements and the Chapter 13 Plan and related forms, to March 26, 2019, because she was
         13 only very recently able to retain counsel: the substitution of attorney form was filed on
         14 March 11, 2019 (Docket No. 10), the same date as the filing of this Motion.
         15       The Debtor requires additional time to work with her new counsel to review and
         16 gather the necessary and required information as to all of her assets, debts, and liabilities
         17 so that accurate and complete documents can be drafted and so that she can otherwise get
         18 in compliance with the rules and requirements of the Court and Chapter 13 Trustee.
         19       Through this Motion, the Debtor seeks an extension of time to file the following
         20 documents:
         21          1. Statement of Related Cases;
         22          2. Summary of Assets and Liabilities;
         23             3. Schedules A-J;
         24             4. Statement of Financial Affairs;
         25             5. Declaration About Debtor's Schedules;
         26             6. Debtor's Certification of Employment Income;
         27             7. Statement of Current Monthly Income;
         28
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        Case 2:19-bk-12014-WB      Doc 13 Filed 03/11/19 Entered 03/11/19 18:40:07          Desc
                                    Main Document    Page 5 of 8
                       8. Creditor Matrix;
          1            9. Verification of Income;
          2            10. Compensation Statement of Attorney for Debtor;
          3            11. Rights and Responsibilities Agreement;
          4            12. Chapter 13 Plan;
          5            13. Notice of §341(a) Meeting of Creditors and Copy of Chapter 13 Plan;
          6            14. Declaration re Tax Returns and Domestic Support Obligations.
          7
          8                                    III.   CONCLUSION
          9         WHEREFORE, the Debtor respectfully requests that the Court enter its order
         10 granting her an additional fourteen (14) days, to March 26, 2019, to file the remainder of
         11 her Bankruptcy Schedules, Statements and the Chapter 13 Plan and related forms, as set
         12 forth herein.
         13
         14 Dated: March 11, 2019                                RESNIK HAYES MORADI LLP

         15
                                                          By:       /s/ Matthew D. Resnik
         16                                                         Matthew D. Resnik
                                                                    Pardis Akhavan
         17                                                         Attorneys for Debtor
                                                                    Muriel Jones
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        Case 2:19-bk-12014-WB       Doc 13 Filed 03/11/19 Entered 03/11/19 18:40:07            Desc
                                     Main Document    Page 6 of 8
                                  DECLARATION OF MATTHEW D. RESNIK

          1
          2         I, Matthew D. Resnik, declare as follows:

          3
          4         1.     I am an attorney at law licensed in the State of California and authorized to

          5 practice before the District Courts in the Central District of California, and before this
          6 Court. I am over the age of eighteen (18). I have personal knowledge of the facts set forth
          7 herein, and if called as a witness, I could and would testify competently with respect
          8 thereto. Where facts are alleged upon information and belief, I believe them to be true. I
          9 am counsel of record for the Debtor herein.
         10       2.     The Debtor filed her “Emergency Chapter 13 Petition” on February 26,

         11 2019, in pro per. The remainder of her Schedules and Statements are due on March 12,
         12 2019. The §341(a) Meeting of Creditors is presently set for April 4, 2019 and the Chapter
         13 13 Plan Confirmation Hearing is set for April 24, 2019.
         14       3.     Debtor thereafter retained my firm; the substitution of attorney form was

         15 filed on March 11, 2019 (Docket No. 10), the same date as the filing of this Motion.
         16        4.    As Debtor has only just retained me as her Bankruptcy counsel, we seek

         17 additional time to work with her to review and gather the necessary and required
         18 information as to all of her assets, debts, and liabilities so that accurate and complete
         19 documents can be drafted and so that she can otherwise get in compliance with the rules
         20 and requirements of the Court and Chapter 13 Trustee.
         21
         22         I declare under penalty of perjury under the laws of the United States of America

         23 that the foregoing is true and correct.
         24
         25         Executed on March 11, 2019, at Encino, California.

         26
                                                                     /s/ Matthew D. Resnik
         27                                                              Matthew D. Resnik

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        Case 2:19-bk-12014-WB      Doc 13 Filed 03/11/19 Entered 03/11/19 18:40:07           Desc
                                    Main Document    Page 7 of 8


          1                          PROOF OF SERVICE OF DOCUMENT

          2 I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding.
            My business address is: 17609 Ventura Blvd., Suite 314, Encino, CA 91316.
          3
            A true and correct copy of the foregoing document entitled DEBTOR’S NOTICE OF
          4 MOTION AND MOTION TO EXTEND TIME TO FILE CASE OPENING
            DOCUMENTS; MEMORANDUM OF POINTS AND AUTHORITIES;
          5 DECLARATION OF MATTHEW D. RESNIK IN SUPPORT THEREOF be served
            or was served (a) on the judge in chambers in the form and manner required by LBR 5005-
          6 2(d); and (b) in the manner indicated below:
          7 I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING
            (“NEF”) – Pursuant to controlling General Order(s) and Local Bankruptcy Rule(s)
          8 (“LBR”), the foregoing document will be served by the court via NEF and hyperlink to the
            document. On 3/11/2019 I checked the CM/ECF docket for this bankruptcy case or
          9 adversary proceeding and determined that the following person(s) are on the Electronic
            Mail Notice List to receive NEF transmission at the email address(es) indicated below:
         10
                 Service information continued on attached page.
         11
               • Nancy K Curry (TR)        TrusteeECFMail@gmail.com
         12    • Matthew    D. Resnik    matt@rhmfirm.com,
                   ResnikMR81240@notify.bestcase.com;roksana@rhmfirm.com;rosario@rh
         13        mfirm.com;janita@rhmfirm.com;susie@rhmfirm.com;max@rhmfirm.com;
                   priscilla@rhmfirm.com;pardis@rhmfirm.com;russ@rhmfirm.com;rebeca
         14        @rhmfirm.com
               • Valerie Smith      claims@recoverycorp.com
         15    • United   States Trustee (LA) ustpregion16.la.ecf@usdoj.gov

         16 II. SERVED BY U.S. MAIL: On 3/11/2019 I served the following person(s) and/or
            entity(ies) at the last known address(es) in this bankruptcy case or adversary proceeding by
         17 placing a true and correct copy thereof in a sealed envelope in the United States Mail, first
            class, postage prepaid, and addressed as follows. Listing the judge here constitutes a
         18 declaration that mailing to the judge will be completed no later than 24 hours after the
            document is filed.
         19
                Service information continued on attached page
         20
            U.S. Trustee and Chp. 13 Trustee served via ECF.
         21
         22 Served Via US First Class Mail:
         23 Muriel Jones
            2618 West Martin Luther King Blvd.
         24 Los Angeles, CA 90008
         25 ALL CREDITORS:
         26 Employment Development Dept.                      Franchise Tax Board
            Bankruptcy Group MIC 92E                          Bankruptcy Section MS: A-340
         27 PO Box 826880                                     PO Box 2952
            Sacramento, CA 94280                              Sacramento, CA 95812
         28
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        Case 2:19-bk-12014-WB      Doc 13 Filed 03/11/19 Entered 03/11/19 18:40:07          Desc
                                    Main Document    Page 8 of 8

            Office of Finance                                 Medicredit, Inc.
          1 City of Los Angeles                               PO Box 1629
            200 N. Spring St., Rm 101 City Hall               Maryland Heights, MD 63043
          2 Los Angeles, CA 90012
                                                              Menick Bank
          3 Internal Revenue Service                          Po Box 660702
            PO Box 7346                                       Dallas, TX 75266
          4 Philadelphia, PA 19101
                                                              The Chong Family Trust
          5 Los Angeles County Tax Collector                  c/o County Records Research Inc.
            2225 North Hill Street                            4952 warner Ave., #105
          6 Los Angeles, CA 90051                             Huntington Beach, CA 92649
          7 III. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE
            TRANSMISSION OR EMAIL (indicate method for each person or entity served):
          8 Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on 3/11/2019 I served the following
            person(s) and/or entity(ies) by personal delivery, overnight mail service, or (for those who
          9 consented in writing to such service method), by facsimile transmission and/or email as
            follows. Listing the judge here constitutes a declaration that personal delivery on the judge
         10 will be completed no later than 24 hours after the document is filed.
         11      Service information continued on attached page
         12 Personal Delivery:
         13     Honorable Julia W. Brand
                United States Bankruptcy Court
         14     Central District of California
                255 E. Temple Street, Suite 1382
         15     Los Angeles, CA 90012
         16
            I declare under penalty of perjury under the laws of the United States of America that the
         17 foregoing is true and correct.
         18    3/11/2019                Ja’Nita Fisher                 /s/ Ja’Nita Fisher
               Date                      Type Name                     Signature
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RESNIK HAYES
 MORADI LLP
